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                                             #714



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
vs.                                               )   CRIMINAL NO. 08-30235-GPM
                                                  )
BRYANT K. MAYBELL a/k/a “B,”                      )
                                                  )
                      Defendant.                  )


                           MEMORANDUM AND ORDER
MURPHY, District Judge:

       Defendant’s motion for an order declaring this case a complex matter requiring extended

litigation and authorizing additional compensation and interim payments (Doc. 273) is GRANTED.

Upon review of the record as a whole, the Court finds: (1) this is a criminal matter in which the

Government may seek a life without parole § 851 enhanced sentence; (2) counsel was appointed

over one year ago; (3) discovery has already produced in excess of 2000 pages along with audio and

video tapes, and (4) based on the relatively large number of defendants, the case has required

extensive, ongoing investigation. As such, the Court CERTIFIES that this matter is complex and

will require extended litigation, as set forth in 18 U.S.C. § 3006A(d)(3). The Court therefore

AUTHORIZES payment to attorney Ronald E. Jenkins in the amount of $125.00 per hour for in-

court and out-of-court time with respect to all matters affecting representation of Defendant.

       Further, in light of the extended nature of this matter and necessary pretrial preparation, the




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Court AUTHORIZES interim payments to defense counsel.1 As such, Defense counsel shall submit

interim vouchers for payment on a sixty day basis. All vouchers shall be submitted to the Federal

Public Defender on a CJA Form 20, “Appointment of and Authority to Pay Court-Appointed

Counsel.”

       IT IS SO ORDERED.

       DATED: 04/01/10


                                                    s/ ZA ctàÜ|v~ `âÜÑ{ç
                                                    G. PATRICK MURPHY
                                                    United States District Judge




       1
         The Court notes that Sentencing is set for June 21, 2010. However, this sentencing only
implicates Defendant’s guilty plea as to Counts 2 and 3 of the Second Superseding Indictment
(Doc. 218). Defendant has not pleaded guilty to Count 1 and negotiations are ongoing.

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